        Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 1 of 50




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISRICT OF OKLAHOMA

(1) BILLY D. “RUSTY” RHOADES III, an           )
individual;                                    )
(2) MEGAN L. SIMPSON, an individual;           )
and                                            )
(3) MICHAEL S. HARRELL, an individual,         )
                                               )
              Plaintiffs,                      )
                                               )        Case No. CIV-20-761-R
v.                                             )
                                               )
(1) THE STATE OF OKLAHOMA, ex rel.             )
GOVERNOR KEVIN STITT;                          )
(2) THE STATE OF OKLAHOMA, ex rel.             )
THE DEPARTMENT OF PUBLIC SAFETY;               )
(3) KEVIN STITT, an individual;                )
(4) CHIP KEATING, an individual;               )
(5) JASON NELSON, an individual; and           )
(6) JOE CLARO, an individual,                  )
                                               )
              Defendants.

                            FINAL PRETRIAL REPORT

All counsel who will appear at trial:

Appearing for Plaintiff:        Dustin J. Hopson, OBA #19485
                                Amy S. Neathery, OBA #20344
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Appearing for Defendants:       Ronald T. Shinn Jr., OBA #19569
                                Michael A. Duncan, OBA #32382
                                Jennie Mook, OBA #34727
                                McAfee & Taft A Professional Corporation




                                          1
       Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 2 of 50




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                    Jury Trial Demanded [X] - Non-Jury Trial □

1.   BRIEF PRELIMINARY STATEMENT. State briefly and in ordinary language
     the facts and positions of the parties (appropriate for use during jury selection in
     jury cases).

     Plaintiffs:

     This case arises from the termination of the Plaintiff, Michael Harrell, from his
     position as the Chief of the Oklahoma Highway Patrol, a division of the Oklahoma
     State Department of Public Safety. The Plaintiff was terminated over Labor Day
     Weekend in 2019, as the result of efforts by the Defendants to decapitate the heads
     of the state agency, so that Defendant Stitt could exercise greater control of the
     agency and to prevent the exposure of corrupt activity within the Oklahoma
     Highway Patrol. Defendants intervened in ongoing investigations against several
     Oklahoma Highway Patrol Troopers and acted to terminate the Plaintiff and others.
     Plaintiff asserts the reason he was terminated and/or coerced into retirement, as will
     be offered by the Defendants, are pretextual and untrue. Under Oklahoma State law,
     it is a requirement that the Chief of the Oklahoma State Highway Patrol be returned
     to the highest ranked position he held prior to accepting the position as Chief of
     Patrol. That statute creates a property interest in future employment for the Chief of
     Patrol, and under the Fourteenth Amendment Due Process Clause of the United
     States Constitution, a person cannot deprive another of that interest without due
     process. Plaintiff asserts that because he was never offered or allowed to return to
     the position he previously held, that of Major within the Oklahoma Highway Patrol,
     he was denied his property interest of expected future employment in violation of
     the Constitution of the United States, and he asserts that he is entitled to recover
     damages he suffered because of the violation of his rights. Further, Plaintiff alleges
     the Defendants were reckless and/or callously indifferent to his right to ongoing
     employment, and that he is entitled to an award of punitive damages against the
     Defendants.




                                           2
       Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 3 of 50




     Defendants:

     Plaintiff is the former Chief of the Oklahoma Highway Patrol. Through 2019, for a
     variety of reasons, Defendant Governor Kevin Stitt increasingly lost confidence in
     Plaintiff’s ability to continue leading the Oklahoma Highway Patrol and on
     Monday, September 2, 2019, the Governor directed and authorized Defendant
     Deputy Secretary of Public Safety Jason Nelson to contact and notify Plaintiff that
     he could choose to resign, retire, or be terminated from his position. Plaintiff
     voluntarily chose to retire from his position that day. He was not terminated as he
     later alleged in this lawsuit.

     The Governor made the decision to appoint new leadership at the Oklahoma
     Department of Public Safety, which includes the Oklahoma Highway Patrol,
     because Plaintiff was involved with others in a number of troubling situations that
     called into question their truthfulness, leadership, and judgment at DPS, including
     but not limited to concerns that Plaintiff had attempted to falsify a blackmail case
     against a Highway Patrol member named Troy German; that Plaintiff covered up
     and lied about cheating by providing answers to a Highway Patrol member in
     advance of a promotional examination; that Plaintiff was involved in a scandal
     involving the use of State funds to procure a brand new red Chevrolet Tahoe for his
     work colleague Megan Simpson and then attempted to cover-up the reasons for the
     acquisition and use of that vehicle; and other lapses in judgment that reasonably
     caused the Governor to lose confidence in Plaintiff.

     Defendants maintain that Plaintiff was an at-will employee, and the Governor had
     legitimate reasons to request that Plaintiff either retire, resign, or be terminated.
     Further, Plaintiff Harrell requested retirement and has voluntarily accepted
     hundreds of thousands of dollars in retirement benefits since retiring over three
     years ago. Plaintiff has no money damages because he elected retirement and has
     been receiving retirement benefits, he failed to meaningfully pursue employment
     since his employment with the State ended, and once he found employment, the
     income received from that employment offsets any alleged damages he might claim
     that he has.

2.   JURISDICTION. State the basis on which the jurisdiction of the court is invoked.

     This Court has jurisdiction pursuant to 28 U.S.C. §1331 (federal question under
     42 U.S.C. § 1983).

3.   STIPULATED FACTS. List stipulations as to all facts that are not disputed,



                                           3
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 4 of 50




     including jurisdictional facts.

          • Jurisdiction and venue are proper.
          • All parties are properly named and identified.

4.   LEGAL ISSUES. State separately, and by party, each disputed legal issue and the
     authority relied upon.

     Plaintiffs:

     A.      Whether Plaintiff Harrell had a property interest in continued employment
             as set forth under 47 O.S. §2-105.

     B.      Whether Plaintiff Harrell had a property interest in continued employment
             in the return to his position of highest previous rank as set forth under 47
             O.S. §2-105, which states “any officer appointed to a commissioned
             position prescribed…which is unclassified…shall have a right of return to
             the highest previously held classified position within the Oklahoma
             Highway Patrol Division…without any loss of rights, privileges or benefits
             immediately upon completion of the duties in the unclassified position.”

     C.      Whether Defendant Governor Stitt had clear statutory authority to remove
             Plaintiff Harrell from his position as Chief of Patrol when 47 O.S. §2-105
             expressly states that the Commissioner of Public Safety shall appoint a
             Chief of the Oklahoma Highway Patrol.

     D.      Whether Defendant Governor Stitt’s authority to appoint and/or terminate
             the Chief of Patrol of the Oklahoma Highway Patrol is limited by the
             express language of 47 O.S. §2-105, which states that the Commissioner
             of Public Safety shall appoint a Chief of the Oklahoma Highway Patrol.

     E.      Whether Plaintiff Harrell was entitled to a right against deprivation of a
             property interest in expected continued employment without due process.

     F.      Whether Plaintiff Harrell was entitled to procedural due process (notice
             and hearing) prior to termination from his employment with the Oklahoma
             Highway Patrol/Oklahoma Department of Public Safety.

     G.      Whether Defendants’ actions in termination of Plaintiff Harrell and/or
             denial of Plaintiff Harrell any opportunity to return to employment in his
             previously held position violated due process under the Fifth and
             Fourteenth Amendments of the United States Constitution as secured by


                                           4
            Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 5 of 50




                42 U.S.C. §1983.

       H.       Whether the Defendants’ actions were the actual and proximate cause of
                damages suffered by Plaintiff Harrell to which he is entitled to recover.

       I.       Whether Plaintiff Harrell suffered actual damages because of Defendants’
                actions.

       J.       Whether Plaintiff Harrell suffered actual damages because of Defendants’
                denial of due process.

       K.       The amount of damages to which Plaintiff Harrell is entitled.

       L.       Whether Plaintiff Harrell suffered, and is entitled to recover, compensatory
                damages for emotional distress and loss of his reputation due to the actions
                of the Defendants.

       M.       Whether the actions of the Defendants were reckless or callously
                indifferent to the rights of the Plaintiff and/or motivated by evil intent,
                therefore entitling Plaintiff Harrell to recover punitive damages.

       N.       Whether Plaintiff Harrell is entitled to reasonable costs and attorney fees
                pursuant to 42 U.S.C. §1988.

       O.       The amount of punitive damages to which Harrell is entitled upon a finding
                that Defendants acted in reckless disregard of the rights of others or acted
                intentionally and with malice towards others.

       P.       The issues raised in Plaintiff’s Motions in Limine.


Defendants:

        A.     Plaintiff fails to state a claim for which relief can be granted.

        B.     Plaintiff Harrell’s Section 1983 claim should be defeated by the doctrine of
               qualified immunity. Washington v. Unified Gov’t of Wyandotte Cnty., KS,
               847 F.3d 1192, 1197 (10th Cir. 2017); Duncan v. Gunter, 15 F.3d 989, 992
               (10th Cir. 1994); Derda v. City of Brighton, Colo., 53 F.3d 1162, 1166 (10th
               Cir. 1995).

        C.     Plaintiff Harrell’s Section 1983 claim should be defeated because he has not



                                               5
 Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 6 of 50




     asserted a violation of a constitutional right to due process. Id.; Mullenix v.
     Luna, 136 S.Ct. 305, 308 (2015); Cummings v. Dean, 913 F.3d 1227, 1239
     (10th Cir. 2019).

D.   Plaintiff Harrell’s Section 1983 claim should be defeated because he does
     not have a property interest in continued employment at DPS. Teigen v.
     Renfrow, 511 F.3d 1072, 1079 (10th Cir. 2007).

E.   Plaintiff Harrell’s Section 1983 claim should be defeated because the
     Governor’s terminations of appointed individuals in primarily executive
     functions are not subject to judicial review absent a specific statutory
     limitation; the Governor has exclusive and final authority for determining
     whether sufficient cause exists to warrant removal of an officer when the
     position is purely executive. Bynum v. Strain, 218 P. 883 (Okla. 1923);
     Marley v. Cannon, 618 P.2d 401, 405 (Okla. 1980) (citing Okla. Tax
     Comm’n v. Fortinberry Co., 207 P.2d 301, 304-05 (Okla. 1949)); 47 Okla.
     Stat. §§ 2-101, 2-118; 74 Okla. Stat. § 2.

F.   Plaintiff Harrell waived any alleged due process right(s) by knowingly
     choosing to voluntarily retire; a choice he later reaffirmed. Parker v. Bd.
     Of Regents of Tulsa Jr. College, 981 F.2d 1159, 1162 (10th Cir. 1992)

G.   Plaintiff Harrell’s retirement decision was voluntary. Id.

H.   Plaintiff Harrell’s retirement decision was not the result of coercion. Id.

I.   There was good cause for the Governor to believe that there were grounds
     to remove Harrell, as there was an arguable basis for discharge. Parker v.
     Bd. Of Regents of Tulsa Jr. College, 981 F.2d 1159, 1162 (10th Cir. 1992);
     Christie v. United States, 518 F.2d 584, 587-88 (Ct.Cl. 1975).

J.   Plaintiff Harrell was given a valid alternative to retirement. Stone v.
     University of Md. Medical Sys., Corp., 855 F.2d 167, 174 (4th Cir. 1988);
     Christie, supra, 518 F.2d at 588.

K.   Defendants had no legal obligation or duty to counsel Plaintiff Harrell about
     his legal options. Gaudette v. Dep’t of Transp., 832 F.2d 1256, 1258-59
     (Fed. Cir. 1987); Kim v. United States, 47 Fed. Cl. 493, 503 (Fed. Cl. Ct.
     2000). Spagnola v. State Bd. of Agr., 13 Fed. Appx. 870, 873, 2001 WL
     791901, at *2 (10th Cir. 2001)

L.   Plaintiff Harrell was not deceived or misled as to his legal options and did




                                     6
Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 7 of 50




     not rely on any misrepresentation or omission by any of the Defendants in
     making his decision to retire. Spagnola v. State Bd. of Agr., 13 Fed. Appx.
     870, 873, 2001 WL 791901, at *2 (10th Cir. 2001).

M. Plaintiff Harrell should be estopped from taking a position in this lawsuit
   that contradicts his prior actions. Willard v. Ward, 875 P.2d 441, 443 (Okla.
   Civ. App. 1994).

N.   Whether Plaintiff Harrell has presented sufficient, admissible evidence from
     which a reasonable juror could find Plaintiff Harrell has established all the
     elements of his Section 1983 claim. FED. R. CIV. P. 50(a); Anderson v.
     Liberty Lobby, Inc., 477 U.S. 242, 250-51, 106 S.Ct. 2505, 2511, 91 L.Ed.2d
     202 (1986).

O.   Plaintiff is not entitled to backpay or lost retirement income because he
     made a voluntary irrevocable election for a retirement payment that
     precludes his ability to be restored to employment with the Highway Patrol,
     thereby foreclosing backpay and lost retirement income as remedies.

P.   Plaintiff is not entitled to front pay.

Q.   Plaintiff is not entitled to punitive damages.

R.   Plaintiff’s claim for back pay damages should be mitigated by his retirement
     payments.

S.   Plaintiff is not entitled to damages for emotional distress or mental anguish.

T.   Plaintiff has no damages.

U.   Plaintiff failed to mitigate his damages.

V.   While Defendants contend Plaintiff is not entitled to any damages; at most,
     Plaintiff would be entitled to nominal damages of $1 for the alleged
     constitutional deprivation.

W. To the extent Plaintiff was deprived due process, Plaintiff would have been
   terminated even if he had been afforded a pretermination hearing. And
   therefore, he has no actual damages.

X.   Plaintiff’s claim is barred by his own misconduct, estoppel, waiver, or
     unclean hands.



                                      7
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 8 of 50




     Y.   The issues raised in Defendants’ Motions for Summary Judgment (Dkt.
          Nos. 50 and 63)

     Z.   The issues raised in Defendants’ Motions in Limine.


5.   CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
     SOUGHT.

     A.    Plaintiffs:

           1. Plaintiff Harrell asserts a claim for violations of his Fifth/Fourteenth
              Amendment rights to due process pursuant to 42 U.S.C. §1983 and seeks
              actual, compensatory, and punitive damages.

           2. Plaintiff seeks an award for his reasonable costs and attorney fees
              pursuant to 42 U.S.C. §1988.

           3. Defendants have no basis to seek their costs and attorney fees.

     B.    Defendants:

          1. Plaintiffs has failed to state any cognizable claims under Oklahoma law.

          2. Plaintiff cannot establish the elements of his claims.

          3. Defendants are not the proximate cause of Plaintiff’s alleged harms

                and/or damages.

          4. Plaintiff is not entitled to any damages and failed to mitigate his damages.

          5. Plaintiff is not entitled to punitive damages for numerous reasons,
             including because:

          (a)      Plaintiff fails to state a claim for which a viable remedy is punitive
                   damages;
          (b)      Defendants did not engage in any act or omission that was malicious,
                   willful, wanton, reckless, or grossly negligent and, therefore, any
                   award of punitive damages is barred;
          (c)      To the extent it applies, Plaintiff is not entitled to punitive damages
                   under 23 Okla. Stat. § 9.1 and case law interpreting the same;



                                           8
Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 9 of 50




   (d)    Punitive damages are not recoverable from Defendants as a matter of
          law;
   (e)    Plaintiff is not entitled to any punitive damages because he cannot
          demonstrate they suffered any actual damages. See Okland Oil Co. v.
          Conoco, Inc., 144 F.3d 1308, 1319 (10th Cir. 1998); Phillips
          Machinery Co. v. LeBlond, Inc., 494 F.Supp. 318, 325 (N.D. Okla.
          1980).
   (f)    Due to the lack of clear standards, the imposition of punitive damages
          against Defendants would be unconstitutional under the doctrines of
          vagueness and overbreadth;
   (g)    Plaintiff’s demand for punitive damages is subject to any and all
          standards or limitations regarding the determination and
          enforceability of punitive damage awards which arose in the decisions
          of Philip Morris USA v. Williams, 549 U.S. 346 (2007); BMW of
          North America v. Gore, 517 U.S. 559 (1996), and State Farm Mutual
          Automobile Insurance Co. v. Campbell, 538 U.S. 408 (2002), and any
          other or subsequent case law interpreting the same; and
   (h)    Plaintiff’s claim for punitive damages may violate provisions of the
          United States Constitution and Oklahoma Constitution, including the
          protections and prohibitions of the double jeopardy and due process
          clauses to the extent it allows the jury to consider harm to third parties
          in violation of the Fourteenth Amendment and Philip Morris USA v.
          Williams; to the extent Plaintiffs seek to recover punitive damages, in
          an amount which is unconstitutionally excessive, such damages would
          violate Article II, §§ 7 and 9, of the Oklahoma Constitution and the
          Due Process Clause of the Fourteenth Amendment and applicable
          United States Supreme Court precedent.

   6. Plaintiff’s damages, if any, should be offset and reduced by any
      retirement benefits that Plaintiff has received and/or will receive in the
      future.

   7. Plaintiff’s damages, if any, should be offset and reduced by employment
      income he has received since the separation of employment.

   8. All challenged employment decisions were made in good faith; further
      Defendants had reasonable grounds for believing their actions were in
      compliance with the law.

   9. To the extent any of Plaintiff’s decision to retire is irrevocable, any
      damages relating to backpay or lost retirement income should be reduced
      to zero.




                                   9
       Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 10 of 50




            10. To the extent Plaintiff was deprived due process, Plaintiff would have
                been terminated even if he had been afforded a pretermination hearing.
                And therefore, he has no actual damages

            11. Plaintiff is not entitled to reasonable costs and attorney fees.

            12. Defendants seek an award for their reasonable costs and attorney fees.

6.    EXHIBITS. The following exclusionary language MUST be included:

      Unlisted exhibits will not be admitted unless, by order of the court, the final
      pretrial order is amended to include them.

      A.     Plaintiff:

                                                                Federal Rule of
      Number       Title/Description                  Objection   Evidence Relied
      Upon
      (Premarked for trial and exchanged as required under LCvR39.4(a))


No.                            Exhibit                                        Objection
1.      Tipton Notice of Suspension letter dated June 18, 2019

2.
3.
4.      Email from Chip Keating to multiple recipients, dated
        August 17, 2019 re: “and all active/current/pending
        investigations…”
5.      Emails between Stephanie Dodd and Megan Simpson,              Not specifically identified
        dated August 30, 2019 “Re: Joe Claro”
                                                                      Fed.R.Evid. 401 – 402
                                                                      Relevance
                                                                      Fed.R.Evid. 901
                                                                      Authentication
                                                                      Fed.R.Evid. 403
                                                                      Misleading/Confusion of
                                                                      the Issues
                                                                      Fed.R.Evid. 801 – 802
                                                                      Hearsay
6.



                                           10
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 11 of 50




7.    Memo to Commissioner Rusty Rhoades from Megan L. Not specifically identified
      Simpson, dated October 29, 2018 (4 pages)
                                                       Fed.R.Evid. 401 – 402
                                                       Relevance
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
8.    Text Messages between Jason Nelson and Rusty        Not specifically identified
      Rhoades
                                                          Improperly
                                                          compiled/combined

                                                          Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
9.    Notes of Jason Nelson “Taken during call Aug. 20,
      2019” (Nelson 0294 - 0296)
10.   Memorandum re: “The top three employees in the      Improperly
      Oklahoma Department of Public Safety were           compiled/combined
      terminated today by Gov. J. Kevin Stitt,” undated
      (Nelson 0297 – 0302)                                Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
11.   August and September 2019 calendars (blank)
12.   “DPS Mtg” notes of Jason Nelson (Nelson 0303 –      Improperly
      0339)                                               compiled/combined
                                                          Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403



                                      11
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 12 of 50




                                                            Misleading/Confusion of
                                                            the Issues
                                                            Fed.R.Evid. 602
                                                            Foundation

                                                            Fed.R.Evid. 801 – 802
                                                            Hearsay
13.
14.   Letter from Rob Mikell to Megan Simpson, dated May    Fed.R.Evid. 401 – 402
      10, 2019 (Nelson 0403)                                Relevance
                                                            Fed.R.Evid. 801 – 802
                                                            Hearsay
                                                            Fed.R.Evid. 901
                                                            Authentication
                                                            Fed.R.Evid. 403
                                                            Misleading/Confusion of
                                                            the Issues
                                                            Fed.R.Evid. 602
                                                            Foundation
15.   Letter from Robert Mikell to Megan Simpson, undated   Fed.R.Evid. 401 – 402
      (Nelson 0404)                                         Relevance
                                                            Fed.R.Evid. 801 – 802
                                                            Hearsay
                                                            Fed.R.Evid. 901
                                                            Authentication
                                                            Fed.R.Evid. 403
                                                            Misleading/Confusion of
                                                            the Issues
                                                            Fed.R.Evid. 602
                                                            Foundation
16.
17.
18.
19.
20.
21.
22.   Email from Chip Keating to Kathy Mires, dated
      October 8, 2019 and associated email chain (Nelson



                                      12
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 13 of 50




      0480-0481)
23.   Email from Chip Keating to Kathy Mires, dated
      October 8, 2019 and associated email chain (Nelson
      0482)
24.
25.   Email from Chip Keating to Kathy Mires, dated            Fed. R. Evid. 401 402
      October 8, 2019 and associated email chain (Nelson       Relevance
      0600-0601)
                                                               Fed. R. Evid. 403
                                                               Misleading/Confusion of
                                                               the Issues
26.   Text messages between Jason Nelson and Megan
      Simpson (Nelson 0640-0641)
27.   Text messages between Jason Nelson and Mike Harrell
      (Nelson 0643)
28.
29.   Draft Statement from John Scully, undated (Nelson
      0679)
30.   List of questions proposed for John Scully (Nelson
      0680)
31.   List of “My Goals,” undated (Nelson 0686)
32.   Notes from Jason Nelson (Nelson 0687-0691)
33.   Emails between Rusty Rhoades and Jason Nelson
      (Nelson 0692)
34.
35.   Statement of J. Kevin Stitt re: Megan Simpson, dated
      9/2/19 (Nelson 0761)
36.   Statement of J. Kevin Stitt re: Rusty Rhoades, dated
      9/2/19 (Nelson 0762)
37.   Statement of J. Kevin Stitt re: Michael Harrell, dated
      9/12/19 (Nelson 0763)
38.   Memorandum of J. Kevin Stitt re: delegation of
      authority to Jason Nelson, dated September 2, 2019
      (Nelson 0764)
39.   DPS Call Script of Jason Nelson (Nelson 0765)
40.   Checklist for Monday, Sept. 2 (Nelson 0767)
41.   Checklist of Jason Nelson (Nelson 0768)
42.   Checklist of Jason Nelson (Nelson 0771)
43.   Text messages from “Chip,” various dates                 Fed.R.Evid. 801 – 802
      (Nelson 0785 – 0791)                                     Hearsay
44.   Text message group conversation between Nelson,
      Keating, Harder, Budd and Junk, dated September 2,



                                        13
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 14 of 50




      2019 (Nelson 0792 – 0801)
45.   Text messages between Jason Nelson and “Matt,” dated
      Sep. 2 (Nelson 0802-0803)
46.   Text messages between Rusty Rhoades and Jason
      Nelson, dated Jul 11 (Nelson 0218)
47.
48.
49.   Email from Rusty Rhoads to Chip Keating and Jason
      Nelson, dated August 22, 2019 (Nelson 0699-0701)
50.   Email to Rusty Rhoads from unknown, dated August         Fed. R. Evid. 401 402
      27, 2019 (DFTS_000042)                                   Relevance

                                                               Fed. R. Evid. 403
                                                               Misleading/Confusion of
                                                               the Issues
51.   Email from Jason Nelson to Zachary Parker re: REAL       Fed. R. Evid. 401 402
      ID Meeting, dated August 28, 2019 (DFTS_002244-          Relevance
      002245)
                                                               Fed. R. Evid. 403
                                                               Misleading/Confusion of
                                                               the Issues
52.   Email from Chip Keating to Kathy Mires, and
      associated email chain, dated October 8, 2019 (Nelson
      0602-0603)
53.   Email from Chip Keating to Donelle Harder, Michael       Fed. R. Evid. 401 402
      Junk, John Budd, and Jason Nelson, dated October 5,      Relevance
      2019, and associated email chain (DFTS_000099)
                                                               Fed. R. Evid. 403
                                                               Misleading/Confusion of
                                                               the Issues
54.   Email from Chip Keating to kathy@keatinginv.com,         Fed. R. Evid. 401 402
      dated October 8, 2019, and associated email chain        Relevance
      (DFTS_000006)
                                                               Fed. R. Evid. 403
                                                               Misleading/Confusion of
                                                               the Issues
55.   Text Messages “To: Chip Keating” (Nelson 0804)
56.   Text Messages between Chip Keating and Donelle           Cumulative/Duplicative of
      Harder, dated Aug 30, and all associated text messages   Exhibit 44
      (Nelson 0209-0214)
57.   Group Text Messages dated Sep 2 (Nelson 0220-0229)       Cumulative/Duplicative of
                                                               Exhibit 43



                                       14
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 15 of 50




                                                             Fed.R.Evid. 801 – 802
                                                             Hearsay
58.   “Wed Sept. 4, 2019 Notes” (DFTS_002301)                Fed.R.Evid. 401 – 402
                                                             Relevance
                                                             Fed.R.Evid. 801 – 802
                                                             Hearsay
                                                             Fed.R.Evid. 403
                                                             Misleading/Confusion of
                                                             the Issues
59.   Email from Chip Keating to Kim Carter and others,      Incomplete exhibit
      dated Oct 3, 2019 (DFTS_001741-001742)
                                                             Fed. R. Evid. 401 402
                                                             Relevance
                                                             Fed.R.Evid. 403
                                                             Misleading/Confusion of
                                                             the Issues
60.
61.   OK REAL ID Program Dashboard, dated 10-18-2019         Fed. R. Evid. 401 402
                                                             Relevance

                                                             Fed. R. Evid. 403
                                                             Misleading/Confusion of
                                                             the Issues
                                                             Fed.R.Evid. 901
                                                             Authentication
                                                             Fed.R.Evid. 602
                                                             Foundation
                                                             Fed.R.Evid. 801 – 802
                                                             Hearsay
62.
63.   Email from Chip Keating to John Budd, and associated   Fed. R. Evid. 401 402
      emails, dated Oct 17, 2019                             Relevance
      (DFTS_001767)
                                                             Fed. R. Evid. 403
                                                             Misleading/Confusion of
                                                             the Issues
64.   Email from Chip Keating to John Scully and Patrick     Fed. R. Evid. 401 402
      Mays, and associated emails, dated Oct 17, 2019        Relevance
      (DFTS_001766)



                                      15
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 16 of 50




                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
                                                              Cumulative/Duplicative of
                                                              Exhibit 63
                                                              Incomplete Exhibit
65.   Email from Chip Keating to Michael Lee and others,      Fed.R.Evid. 901
      dated Oct 17, 2019 (DFTS_001762-1765)                   Authentication
                                                              Fed.R.Evid. 602
                                                              Foundation
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
                                                              Fed.R.Evid. 401 – 402
                                                              Relevance

                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
66.   Email from Kyra Oles to Jason Nelson and others,        Incomplete Exhibit
      dated Oct 18, 2019 (DFTS_002085)
                                                              Fed.R.Evid. 901
                                                              Authentication
                                                              Fed.R.Evid. 602
                                                              Foundation
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
                                                              Fed.R.Evid. 401 – 402
                                                              Relevance

                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
67.   Email from John Scully to Chip Keating, dated Oct 21,   Fed.R.Evid. 901
      2019 and associated emails (DFTS_001484-1485)           Authentication
                                                              Fed.R.Evid. 602
                                                              Foundation
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay



                                      16
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 17 of 50




                                                              Fed.R.Evid. 401 – 402
                                                              Relevance
68.   Letter from John Scully to Chip Keating, dated          Fed. R. Evid. 401 402
      December 18, 2019 (DFTS_001143)                         Relevance

                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
69.
70.   Email from Chip Keating to John Scully, dated Jan 30,   Incomplete Exhibit
      2020, and associated emails (DFTS_000407-00409)
                                                              Fed.R.Evid. 901
                                                              Authentication
                                                              Fed.R.Evid. 602
                                                              Foundation
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
                                                              Fed.R.Evid. 401 – 402
                                                              Relevance

                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
71.
72.   Text messages between “Rusty” and Chip Keating
      (Keating 0002-0018)
73.   Termination strategy memorandum (Nelson 0770)
74.   Text messages from “Matt,” dated Sep 2 (Nelson 0230-    Cumulative; duplicative
      231)                                                    of Exhibit 45
75.
76.   Emails Rusty Rhoades, Chip Keating, Megan Simpson,      Not specifically identified
      and David Ostrowe (DFTS_00055-56)                       Description doesn’t match
                                                              document
                                                              Fed.R.Evid. 901
                                                              Authentication
                                                              Fed.R.Evid. 602
                                                              Foundation
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay




                                      17
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 18 of 50




                                                              Fed.R.Evid. 401 – 402
                                                              Relevance
                                                              Fed.R.Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
77.
78.   Email from Rusty Rhoades to Chip Keating re: Real ID, Not specifically identified
      dated August 30, 2019, and associated email chain     Cumulative; duplicative
                                                            of Exhibit 25

                                                              Fed. R. Evid. 401 402
                                                              Relevance

                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
79.   Email from Rusty Rhoades to Michael Junk and Chip       Not specifically
      Keating, dated July 23, 2019 and attached REAL ID       identified;
      Extension Request draft and REAL ID Checklists (14
      pages)                                                  Document is unreadable
                                                              Description doesn’t match
                                                              document

                                                              Fed. R. Evid. 401 402
                                                              Relevance

                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
80.   Email from Rusty Rhoades to Donelle Harder re:          Fed. R. Evid. 401 402
      REAL ID Extension Letter and attached letter from       Relevance
      Kevin Stitt and REAL ID Checklists (11 pages)
                                                              Fed. R. Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
81.   Email from Megan Simpson to Michael Harrell, dated
      March 3, 2019 re: Stan Walker and Troy German (2
      pages)
82.   Email from Michael Harrell to Billie Watkins re:
      Retirement Letter, dated June 28, 2019 and associated
      email chain (2 pages)
83.   Oklahoma DPS/Oklahoma Highway Patrol Major Case         Document not produced in



                                      18
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 19 of 50




      Record Investigative Report, Case Number 18-0631CI   discovery
      for investigative period 11/20/2018 – 2/04/2019      No exhibit exchanged
                                                           Fed.R.Evid. 901
                                                           Authentication
                                                           Fed.R.Evid. 602
                                                           Foundation
                                                           Fed.R.Evid. 801 – 802
                                                           Hearsay
                                                           Fed.R.Evid. 401 – 402
                                                           Relevance
                                                           Fed.R.Evid. 403
                                                           Misleading/Confusion of
                                                           the Issues
84.   Troy German v. Rhoades, et al., USWDC of Oklahoma
      Case No.: CIV-19-751-F
      Deposition Transcript of Testimony of David Prater
      For impeachment purposes only
85.   Troy German v. Rhoades, et al., USWDC of Oklahoma    Fed.R.Evid. 801 – 802
      Case No.: CIV-19-751-F                               Hearsay
      Deposition Transcript of Testimony of Chip Keating
      For impeachment purposes only
86.
87.
88.
89.
90.
91.
92.
93.
94.
95.
96.   Job Search Summary of Mike Harrell with supporting   Not specifically identified
      documentation
                                                           Improperly
                                                           compiled/combined
                                                           Fed.R.Evid. 901
                                                           Authentication
                                                           Fed.R.Evid. 801 – 802
                                                           Hearsay




                                     19
       Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 20 of 50




                                                              Fed.R.Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
97.    2018 Tax Return of Mike Harrell
98.    2019 Tax Return of Mike Harrell
99.    2020 Tax Return of Mike Harrell
100.   Notice of Tort Claim
101.   Resume of Mike Harrell                                 Not specifically identified
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
102.   OLERS calculations for Mike Harrell                    Not specifically identified
                                                              Fed.R.Evid. 401 – 402
                                                              Relevance
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
                                                              Fed.R.Evid. 403
                                                              Misleading/Confusion of
                                                              the Issues
                                                              Fed.R.Evid. 602
                                                              Foundation
                                                              Fed.R.Evid. 901
                                                              Authentication
                                                              Fed.R.Evid. 403
                                                              Cumulative
103.   Contract Investigator Application for Michael Steven   Fed.R.Evid. 901
       Harrell, undated                                       Authentication
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
104.   Independent Contractor Agreement for Michael Steven    Fed.R.Evid. 901
       Harrell, dated March 12, 2020                          Authentication
                                                              Fed.R.Evid. 801 – 802
                                                              Hearsay
105.   Demonstrative aid of actual damages for Mike Harrell   Not specifically
                                                              identified; Defendants
                                                              reserve objections.
106.
107.



                                         20
       Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 21 of 50




108.
109.
110.
111.
112.
113.
114.   Email from Megan Simpson dated February 15, 2019
115.
116.
117.
118.   Emails between Rusty Rhoades, Michael Harrell, and   Not specifically identified
       Duane Michael, dated July 26-30, 2021
                                                            Fed.R.Evid. 401 – 402
                                                            Relevance
                                                            Fed.R.Evid. 801 – 802
                                                            Hearsay
                                                            Fed.R.Evid. 403
                                                            Misleading/Confusion of
                                                            the Issues
                                                            Fed.R.Evid. 602
                                                            Foundation
                                                            Fed.R.Evid. 901
                                                            Authentication
                                                            Fed.R.Evid. 403
                                                            Cumulative
119.   Plans Premium Chart                                  Not specifically identified
                                                            Fed.R.Evid. 401 – 402
                                                            Relevance
                                                            Fed.R.Evid. 801 – 802
                                                            Hearsay
                                                            Fed.R.Evid. 403
                                                            Misleading/Confusion of
                                                            the Issues
                                                            Fed.R.Evid. 901
                                                            Authentication
                                                            Fed.R.Evid. 403
                                                            Cumulative
                                                            Fed.R.Evid. 602
                                                            Foundation



                                      21
        Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 22 of 50




120.
121.    All deposition exhibits.                                 Not specifically identified

                                                                 Defendants reserve
                                                                 objections

                                                                 Not a proper exhibit
122.    Defendants’ Answers to Interrogatories, Request for      Not a proper exhibit
        Production, and Requests for Admission
123.    Documents listed or identified by Defendants, unless     Not specifically identified
        otherwise objected to by Plaintiffs.
                                                                 Defendants reserve
                                                                 objections

                                                                 Not a proper exhibit
124.    Any and all documents produced pursuant to Plaintiffs’   Not specifically identified
        Open Records Act Request.
                                                                 Moot—documents were
                                                                 produced pursuant to the
                                                                 Open Records Requests

                                                                 Fed.R.Evid. 401 – 402
                                                                 Relevance
                                                                 Fed.R.Evid. 801 – 802
                                                                 Hearsay
                                                                 Fed.R.Evid. 403
                                                                 Misleading/Confusion of
                                                                 the Issues
                                                                 Fed.R.Evid. 901
                                                                 Authentication
                                                                 Fed.R.Evid. 403
                                                                 Cumulative
                                                                 Fed.R.Evid. 602
                                                                 Foundation
124.1   Idemia PowerPoint 09/20/2018                             Fed.R.Evid. 401 – 402
                                                                 Relevance
                                                                 Fed.R.Evid. 801 – 802
                                                                 Hearsay
                                                                 Fed.R.Evid. 403



                                         22
        Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 23 of 50




                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.2   Idemia PowerPoint 10/16/2018                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.3   Idemia PowerPoint 11/27/2018                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.4   Idemia PowerPoint 12/18/2018                      Fed.R.Evid. 401 – 402
                                                          Relevance



                                       23
        Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 24 of 50




                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.5   Idemia PowerPoint 01/22/2019                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.6   Idemia PowerPoint 02/19/2019                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602



                                       24
        Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 25 of 50




                                                          Foundation
124.7   Idemia PowerPoint 03/19/2019                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.8   Idemia PowerPoint 04/16/2019                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication
                                                          Fed.R.Evid. 403
                                                          Cumulative
                                                          Fed.R.Evid. 602
                                                          Foundation
124.9   Idemia PowerPoint 05/21/2019                      Fed.R.Evid. 401 – 402
                                                          Relevance
                                                          Fed.R.Evid. 801 – 802
                                                          Hearsay
                                                          Fed.R.Evid. 403
                                                          Misleading/Confusion of
                                                          the Issues
                                                          Fed.R.Evid. 901
                                                          Authentication



                                       25
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 26 of 50




                                                        Fed.R.Evid. 403
                                                        Cumulative
                                                        Fed.R.Evid. 602
                                                        Foundation
124.10 Idemia PowerPoint 06/18/2019                     Fed.R.Evid. 401 – 402
                                                        Relevance
                                                        Fed.R.Evid. 801 – 802
                                                        Hearsay
                                                        Fed.R.Evid. 403
                                                        Misleading/Confusion of
                                                        the Issues
                                                        Fed.R.Evid. 901
                                                        Authentication
                                                        Fed.R.Evid. 403
                                                        Cumulative
                                                        Fed.R.Evid. 602
                                                        Foundation
124.11 Idemia PowerPoint 07/16/2019                     Fed.R.Evid. 401 – 402
                                                        Relevance
                                                        Fed.R.Evid. 801 – 802
                                                        Hearsay
                                                        Fed.R.Evid. 403
                                                        Misleading/Confusion of
                                                        the Issues
                                                        Fed.R.Evid. 901
                                                        Authentication
                                                        Fed.R.Evid. 403
                                                        Cumulative
                                                        Fed.R.Evid. 602
                                                        Foundation
124.12 Idemia PowerPoint 08/20/2019                     Fed.R.Evid. 401 – 402
                                                        Relevance
                                                        Fed.R.Evid. 801 – 802
                                                        Hearsay
                                                        Fed.R.Evid. 403
                                                        Misleading/Confusion of



                                      26
            Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 27 of 50




                                                                          the Issues
                                                                          Fed.R.Evid. 901
                                                                          Authentication
                                                                          Fed.R.Evid. 403
                                                                          Cumulative
                                                                          Fed.R.Evid. 602
                                                                          Foundation
    125.     Documents necessary to refresh witness’s memory              Not specifically identified

                                                                          Defendants reserve
                                                                          objections
    126.     Aids to Court and Jury                                       Not specifically identified

                                                                          Defendants reserve
                                                                          objections
    127.     Demonstrative aids and enlargements                          Not specifically identified

                                                                          Defendants reserve
                                                                          objections


    B.     Defendant:

                                                                       Federal Rule of
           Number       Title/Description                   Objection    Evidence Relied
           Upon
           (Premarked for trial and exchanged as required under LCvR39.4(a))
    Exhibit Identification or Bates Description                          Objection
       No.    Number1
    1.        Defendants_000003         09/02/2019 Stitt delegation to
                                        Jason Nelson to effectuate the
                                        resignation, retirement or
                                        termination of Rhoades,
                                        Simpson and Harrell
    2.        Nelson 0762               09/02/2019 Stitt affidavits that
                                        Rhoades is unable to
                                        effectively lead DPS
    3.        Nelson 0761               09/02/2019 Stitt affidavits that
                                        Simpson is unable to

1
    The exhibits without bates numbers are from Plaintiffs’ production.



                                                 27
        Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 28 of 50




                                   effectively lead DPS
4.       Nelson 0763               09/02/2019 Stitt affidavits that
                                   Harrell is unable to effectively
                                   lead DPS
5.       Nelson 0792-0801          09/02/2019 Texts with
                                   Governor’s staff re
                                   terminating Plaintiffs
6.       Nelson 0765               Nelson Call Script

7.       Nelson 0767-0768          Nelson Checklist

8.       Exhibit 16 to Defendant   Transcript of audio recording
         Stitt’s Motion for        on 09/02/2019 between Jason
         Summary Judgment          Nelson and Rhoades
8-1.     Audio File 2019-09-02     Recording of call between
         3_02 Rhoades –            Nelson and Rhoades
         Produced 1/28/22.wav
9.       Exhibit 16 to Defendant   Transcript of audio recording
         Stitt’s Motion for        on 09/02/2019 between Jason
         Summary Judgment          Nelson and Simpson
9-1.     Audio File 2019-09-02     Recording of call between
         3_09 Simpson –            Nelson and Simpson
         Produced 1/28/22.wav
10.      Exhibit 16 to Defendant   Transcript of audio recording
         Stitt’s Motion for        on 09/02/2019 between Jason
         Summary Judgment          Nelson and Harrell
10-1.    Audio File 2019-09-02     Recording of call between
         3_09 Simpson –            Nelson and Harrell
         Produced 1/28/22.wav
11.      Nelson 0218               9/2/2019 Texts to “Rusty”
                                   from Nelson
12.      Nelson 0694-0695          9/2/2019 Texts between
                                   Nelson and Simpson
13.      Nelson 0693               9/2/2019 Texts between
                                   Nelson and Harrell
14.      DFTS_002366-002367        9/5/2019 Rhoades’ letter
                                   confirming retirement and
                                   notice of personnel action
15.      DFTS_002368-002369        9/6/2019 Simpson’s HR
                                   memo and notice of personnel
                                   action




                                         28
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 29 of 50




16.    DFTS_002371-002372     9/4/2019 Harrell’s letter
                              confirming retirement and
                              notice of personnel action
17.    Defendants_000005      09/05/2019 Memo to HR re
                              Rhoades retirement
18.    Nelson 0818            Nelson list - untitled

19.    Nelson 0301-0302       08/30/2019 Nelson DPS         Fed. R. Evid. 901 -
                              Leadership Issues             Authentication
20.    Nelson 0808-0810;      “DPS Leadership Concerns”     Fed. R. Evid. 901 –
       0813                   document                      Authentication
                                                            Fed. R. Evid. 1003 –
                                                            Completeness
21.

22.

23.

24.

25.

26.

27.

28.

29.    DFTS_002418-002420     6/3/2019 Email from Harrell
                              to Simpson and associated
                              thread
30.

31.

32.

33.

34.




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      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 30 of 50




35.

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48.

49.    DFTS_002401-002402     02/16/2019 Email from
                              Simpson to multiple recipients
                              and associated thread with
                              draft statement
50.    DFTS_002421            02/19/2019 DPS Statement on
                              grand jury indictment of Troy
                              German
51.    Nelson 0423-0424       02/19/2019 Letter from AG
                              Hunter to Rhoades
52.    DFTS_002664-002665     03/3/2019 Email from
                              Simpson to Harrell and
                              associated thread
53.    DFTS_002411-002413     06/18/2019 Simpson email
                              and notice re Tipton amended



                                    30
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 31 of 50




                              suspension with pay
54.    DFTS_002691-002696     Notices of Suspensions with
                              Pay for Tipton and McCoy
55.    DFTS_002441            06/28/2019 German
                              notification of retirement
56.    DFTS_002690, 002697    6/28/2019 Email from
                              Simpson to Rhoades and
                              associated attachment of
                              German Press Release
57.    DFTS_002700-002701     06/28/2019 News Article –
                              Indicted OHP Trooper to
                              Retire After State Dismissed
                              Blackmail Charge
58.    Nelson 0294-0295       Nelson’s whiteboard notes on
                              Prater call
59.    DFTS_000042            8/27/2019 Email from Rusty
                              Rhoades re Personnel
                              Changes
60.    DFTS_002414            9/2/2019 Email from Simpson
                              to her personal account
61.    DFTS_002403-002404     9/2/2019 Email from Simpson
                              to Kannady and associated
                              thread
62.    DFTS_002442-002608     09/13/2022 Declaration of      Fed. R. Evid. 801-802
                              David Prater                   Hearsay
                                                             Not proper exhibit unless
                                                             for impeachment
63.

64.

65.

66.    DFTS_002670-002674     10/5/2022 Declaration of       Fed. R. Evid. 801-802
                              David Ostrowe                  Hearsay
                                                             Not proper exhibit unless
                                                             for impeachment
67.    DFTS_002675-002678     10/27/2022 Declaration of      Fed. R. Evid. 801-802
                              Paul Christian                 Hearsay
                                                             Not proper exhibit unless
                                                             for impeachment




                                    31
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 32 of 50




68.    DFTS_002679-002684         10/18/2022 Declaration of   Fed. R. Evid. 801-802
                                  Duane Michael               Hearsay
                                                              Not proper exhibit unless
                                                              for impeachment
69.    DFTS_002668-002669         Docket sheet of State of    Fed. R. Evid. 801-802
                                  Oklahoma v. Troy D. German, Hearsay
                                  Oklahoma County Case No.    Not proper exhibit unless
                                  CF-2019-967                 for impeachment
70.    Filed of record, as well   Original Complaint in       Fed. R. Evid. 801-802
       as Exhibit 11 of           German v. Rhoades, et al.,  Hearsay
       Defendant Stitt’s          USDC, Western District of
       Motion for Summary         Oklahoma Case No. CIV-19-
       Judgment                   751
71.    Filed of record, as well   First Amended Complaint in  Fed. R. Evid. 401-402
       as Exhibit 12 of           German v. Rhoades, et al.,  Relevance
       Defendant Stitt’s          USDC, Western District of   Fed. R. Evid. 801-802
       Motion for Summary         Oklahoma Case No. CIV-19- Hearsay
       Judgment                   751

72.

73.    GERMAN01956–               Troop A Exam for Orr –         Fed. R. Evid. 401-402
       GERMAN01977                Exhibit 3 to Harrell           Relevance
                                  Deposition from German v.      Not identified on
                                  Rhoades, et al., USDC,         Defendants’ Final
                                  Western District of Oklahoma   Exhibit List
                                  Case No. CIV-19-751
74.    DFTS_002439                12/12/2018 Offer letter to
                                  Rhoades
75.    Nelson 0819                3/18/2019 Procurement          Fed. R. Evid. 401-402
                                  Control Form                   Relevance
76.    Nelson 0820                3/14/2019 Price Quote from     Fed. R. Evid. 401-402
                                  Carter Chevrolet               Relevance
77.    Nelson 0821                8/1/2019 Invoice from          Fed. R. Evid. 401-402
                                  National Auto Accessories      Relevance
78.    Nelson 0822                3/12/2019 Email from           Fed. R. Evid. 401-402
                                  Simpson to Barry Ross and      Relevance
                                  associated thread
79.    Nelson 0837                9/4/2019 Email from Sarah      Fed. R. Evid. 401-402
                                  Stewart to Gina Smith and      Relevance
                                  associated thread
80.                               Harrell 2018-2021 Federal      Fed. R. Civ. P. 5.2 Social
                                  and State Tax Returns, W-2s,   Security numbers have



                                        32
       Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 33 of 50




                                     1099s (produced without             not been redacted
                                     Bates number)
81.

82.

83.      000085-000086               Michael Harrell job
                                     application with ABF Freight
84.      OLERS 001-034               Harrell Application and
                                     Pension calculations
85.      OLERS 035                   Michael Harrell Pension
                                     Payment History
86.      OLERS 036-135               2019 OLERS Member
                                     Handbook
87.      OLERS 136-157               Rhoades Application and             Fed. R. Evid. 401-402
                                     Pension calculations                Relevance
88.      OLERS 158                   Rhoades Pension Payment             Fed. R. Evid. 401-402
                                     History                             Relevance
89.                                  Deposition exhibits not
                                     objected to by Defendants
90.                                  Exhibits listed by Plaintiffs
                                     and not objected to by
                                     Defendants
91.                                  Documents received in
                                     response to subpoenas and not
                                     objected to by Defendants
92.                                  Any demonstrative exhibits

93.                                  Additional documents that
                                     Defendants receive or become
                                     aware of through discovery,
                                     not objected to by Defendants
94.                                  All exhibits identified or
                                     produced in discovery or at
                                     depositions and not objected
                                     to by Defendants


7.    WITNESSES: The following exclusionary language MUST be included:

      Unlisted witnesses in chief will not be permitted to testify unless, by order of the
      court, the final pretrial order is amended to include them.



                                            33
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 34 of 50




  A.       Plaintiff:

                    (WITNESSES EXPECTED TO TESTIFY)

NO.     NAME               ADDRESS                      PROPOSED TESTIMONY
1.      Billy D. Rhoades   c/o Hopson Legal             Plaintiff.     Will       testify
                           Dustin J. Hopson             regarding appointment and
                           Amy S. Neathery              performance                    as
                           119 N. Robinson Ave., Ste.   Commissioner of Public
                           650                          Safety;      knowledge       and
                           Oklahoma City, OK 73102      circumstances of effort by
                                                        Troy German to blackmail
                                                        Rhoades; efforts by the
                                                        Department of Public Safety
                                                        to implement REAL ID;
                                                        reappointment by Defendant
                                                        Stitt    into    position      of
                                                        Commissioner of Public
                                                        Safety;       existence        of
                                                        investigation by Troop Z;
                                                        communication               with
                                                        Defendants regarding REAL
                                                        ID; prosecution of Troy
                                                        German by Office of the
                                                        Oklahoma Attorney General
                                                        and the dismissal of the same
                                                        over objection of Plaintiffs;
                                                        knowledge       of     meetings
                                                        between Gary James and
                                                        Defendant              Keating;
                                                        communication               with
                                                        Defendants regarding job
                                                        performance; knowledge of
                                                        events             surrounding
                                                        termination from position as
                                                        Commissioner of Public
                                                        Safety; lack of knowledge by
                                                        Defendants Keating and
                                                        Nelson about REAL ID
                                                        and/or      investigation      of
                                                        members of the Oklahoma



                                     34
     Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 35 of 50




                                                    Highway Patrol; further
                                                    knowledge and circumstances
                                                    surrounding termination from
                                                    employment and damages
                                                    arising from termination.
                                                    Deposed.
2.     Michael Harrell   c/o Hopson Legal           Plaintiff.    Will       testify
                         Dustin J. Hopson           regarding employment and
                         Amy S. Neathery            performance as Chief of
                         119 N. Robinson Ave., Ste. Patrol of the Oklahoma
                         650                        Highway Patrol; knowledge
                         Oklahoma City, OK 73102    and circumstances of effort by
                                                    Troy German to blackmail
                                                    Plaintiff Rhoades; efforts by
                                                    the Department of Public
                                                    Safety to implement REAL
                                                    ID and his lack of
                                                    requirements or involvement
                                                    in the same; reappointment of
                                                    Plaintiff     Rhoades        by
                                                    Defendant Stitt into position
                                                    of Commissioner of Public
                                                    Safety;      existence        of
                                                    investigation by Troop Z;
                                                    knowledge of prosecution of
                                                    Troy German by Office of the
                                                    Oklahoma Attorney General
                                                    and the dismissal of the same
                                                    over objection of Plaintiffs;
                                                    knowledge       of    meetings
                                                    between Gary James and
                                                    Defendant              Keating;
                                                    communication              with
                                                    Defendants regarding job
                                                    performance; knowledge of
                                                    events             surrounding
                                                    termination from position as
                                                    Chief of Patrol of the
                                                    Oklahoma Highway Patrol;
                                                    refusal by Defendants to
                                                    return Plaintiff to prior rank
                                                    and/or position as required by
                                                    law; further knowledge and



                                    35
     Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 36 of 50




                                                   circumstances surrounding
                                                   termination from employment
                                                   and damages arising from
                                                   termination. Deposed.
3.     Megan Simpson    c/o Hopson Legal           Plaintiff.     Will     testify
                        Dustin J. Hopson           regarding employment and
                        Amy S. Neathery            performance      as    Deputy
                        119 N. Robinson Ave., Ste. Commissioner of Public
                        650                        Safety and General Counsel
                        Oklahoma City, OK 73102    for the Oklahoma Department
                                                   of Public Safety; knowledge
                                                   of actions taken by prior legal
                                                   counsel for Department of
                                                   Public Safety in using civilly
                                                   seized assets illegally and
                                                   efforts by the administration
                                                   to do so in order to support
                                                   REAL ID; knowledge and
                                                   circumstances of effort by
                                                   Troy German to blackmail
                                                   Rhoades;      knowledge      of
                                                   handling and assignment of
                                                   investigation of Troy German,
                                                   Tim Tipton, Jack McCoy, and
                                                   others by and to Troop Z;
                                                   knowledge of administrative
                                                   actions taken in regard to
                                                   activities of Tim Tipton and
                                                   Jack McCoy for violations of
                                                   policy and laws of the
                                                   Department of Public Safety
                                                   and State of Oklahoma;
                                                   knowledge of efforts by the
                                                   Department of Public Safety
                                                   to implement REAL ID;
                                                   knowledge of REAL ID
                                                   compliance; knowledge of
                                                   communications       regarding
                                                   implementation of REAL ID;
                                                   knowledge of prosecution of
                                                   Troy German by Office of the
                                                   Oklahoma Attorney General
                                                   and the dismissal of the same



                                  36
     Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 37 of 50




                                                   over objection of Plaintiffs;
                                                   knowledge         of    meetings
                                                   between Gary James and
                                                   Defendant               Keating;
                                                   knowledge          of      events
                                                   surrounding termination from
                                                   position with Department of
                                                   Public        Safety/State      of
                                                   Oklahoma; lack of knowledge
                                                   by Defendants Keating and
                                                   Nelson about REAL ID
                                                   and/or       investigation      of
                                                   members of the Oklahoma
                                                   Highway Patrol; further
                                                   knowledge and circumstances
                                                   surrounding termination from
                                                   employment and damages
                                                   arising from termination.
                                                   Deposed.
4.     Jason Holt       c/o Defendants’ counsel    Deposed.         Will      testify
                        Ronald T. Shinn Jr.        regarding investigation of
                        Alex Duncan                Troy German by Troop Z of
                        Jennie Mook                the Oklahoma Highway
                        McAfee and Taft            Patrol;       knowledge         of
                        211 N. Robinson, 8th FL    information obtained during
                        OKC, OK 73102              investigation of Troy German
                                                   about Tim Tipton and Jack
                                                   McCoy;         knowledge        of
                                                   communication or lack of
                                                   communication                with
                                                   Plaintiffs and the reason for
                                                   the same; knowledge of
                                                   submission of Troop Z
                                                   investigation to prosecuting
                                                   entities/agencies;        further
                                                   knowledge of facts and
                                                   circumstances surrounding
                                                   termination of Plaintiffs;
                                                   further knowledge of facts
                                                   and       circumstances         of
                                                   Plaintiffs’       claims      and
                                                   defenses to those claims.
5.     Gary James       620 N. Robinson, #207      Will       testify     regarding



                                  37
     Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 38 of 50




                        Oklahoma City, OK 73102     relationship with Tim Tipton
                                                    prior to investigation of Troy
                                                    German; financial payments
                                                    to Tim Tipton and/or on
                                                    behalf of Tim Tipton;
                                                    relationship in which Tim
                                                    Tipton testified on behalf of
                                                    clients for Mr. James;
                                                    communication he had with
                                                    anyone associated with the
                                                    Troop Z investigation, or the
                                                    lack of communication with
                                                    Troop       Z     investigators;
                                                    communications he had with
                                                    David Prater in regard to
                                                    Plaintiffs and/or the Troop Z
                                                    investigation and the reason
                                                    for the same; communications
                                                    he had with Mike Hunter in
                                                    regard to Plaintiffs and/or the
                                                    Troop Z investigation and the
                                                    reason      for    the    same;
                                                    communications he had with
                                                    Defendant Keating in regard
                                                    to the Troop Z investigation,
                                                    administrative actions taken
                                                    in regard to, Tim Tipton, Jack
                                                    McCoy,          or       others,
                                                    communication about the
                                                    Plaintiffs, and the reason for
                                                    the same; further knowledge
                                                    of facts and circumstances of
                                                    Plaintiffs’ claims and the
                                                    defenses to those claims.
6.     Tim Tipton       c/o Sunne Day               Will testify about his actions
                        General Counsel             and efforts to hide a phone
                        Department of Public Safety provided to him by Troy
                        3600 N. Martin Luther King German during the Troop Z
                        Ave                         investigation; will testify that
                        Oklahoma City, OK 73111     he         admitted         and
                                                    acknowledged to Troop Z
                                                    investigators       that      he
                                                    attempted to hide a phone



                                   38
     Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 39 of 50




                                                    provided to him by Troy
                                                    German           during        an
                                                    investigation by Troop Z; will
                                                    testify as to his prior
                                                    relationship with Gary James
                                                    and his financial benefit from
                                                    such relationship; will testify
                                                    about      his     service     as
                                                    Commissioner          of      the
                                                    Department of Public Safety
                                                    and his promotion into such
                                                    position despite his efforts to
                                                    hide possible evidence on
                                                    behalf of Troy German; will
                                                    testify regarding knowledge
                                                    of reasons he was placed on
                                                    administrative leave prior to
                                                    termination of Plaintiffs and
                                                    conclusion of administrative
                                                    leave following Plaintiffs’
                                                    termination.             Further
                                                    knowledge of facts and
                                                    circumstances of Plaintiff’s
                                                    claims and defenses to such
                                                    claims.
7.     Brian Orr        c/o Sunne Day               Will      testify      regarding
                        General Counsel             knowledge of blackmail
                        Department of Public Safety allegations against Troy
                        3600 N. Martin Luther King German, investigation of the
                        Ave                         same, and allegations against
                        Oklahoma City, OK 73111     him and German about
                                                    alleged efforts to cheat during
                                                    the promotional process
                                                    within       the      Oklahoma
                                                    Highway Patrol; knowledge
                                                    of communication of Gary
                                                    James on behalf of Tim
                                                    Tipton; further knowledge of
                                                    facts and circumstances of
                                                    Plaintiff’s      claims      and
                                                    defenses to the same.
8.     Governor         c/o Defendants’ counsel     Defendant. Not yet deposed
       Kevin Stitt      Ronald T. Shinn Jr.         despite      request      during



                                   39
      Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 40 of 50




                         Alex Duncan                discovery.           Ostensible
                         Jennie Mook                decision-maker in regard to
                         McAfee and Taft            decision to remove Plaintiffs
                         211 N. Robinson, 8th FL    from employment during a
                         OKC, OK 73102              holiday weekend and without
                                                    direct         communication
                                                    between himself and any
                                                    Plaintiff    or     Defendants
                                                    Keating and Nelson; will
                                                    testify if required by Court
                                                    regarding       reasons      for
                                                    termination of Plaintiffs,
                                                    information provided to him
                                                    and by whom, which was the
                                                    basis for any decision to
                                                    terminate            Plaintiffs;
                                                    knowledge of REAL ID
                                                    compliance by the Oklahoma
                                                    Department of Public Safety;
                                                    knowledge                     of
                                                    communications, if any,
                                                    between       himself       and
                                                    Defendants Nelson and/or
                                                    Stitt; further knowledge of
                                                    Plaintiffs    claims     and/or
                                                    defenses to those claims.
9.      Chip Keating     c/o Defendants’ counsel    Defendant. Deposed.
                         Ronald T. Shinn Jr.
                         Alex Duncan
                         Jennie Mook
                         McAfee and Taft
                         211 N. Robinson, 8th FL
                         OKC, OK 73102

10.     Jason Nelson     c/o Defendants’ counsel    Defendant. Deposed.
                         Ronald T. Shinn Jr.
                         Alex Duncan
                         Jennie Mook
                         McAfee and Taft
                         211 N. Robinson, 8th FL
                         OKC, OK 73102

11.     Kathy Mires      Keating Investments        Will     testify     regarding



                                   40
             Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 41 of 50




                                 5815 N. Western Ave         communications with Kevin
                                 Oklahoma City, OK 73118     Stitt; notary of Kevin Stitt’s
                                                             signature; preparation of
                                                             documents.

      (WITNESSES THAT MAY TESTIFY IN CASE-IN-CHIEF OR ON REBUTTAL)

       NO.     NAME              ADDRESS                     PROPOSED TESTIMONY
       1.      Donelle Harder    322 NE 15th Street          Will testify regarding efforts
                                 Oklahoma City, OK 73014     by the Department of Public
                                                             Safety to implement REAL
                                                             ID;     reappointment        by
                                                             Defendant Stitt into position
                                                             of Commissioner of Public
                                                             Safety; communication with
                                                             Defendants regarding REAL
                                                             ID; knowledge of meetings
                                                             between knowledge of events
                                                             surrounding          Plaintiffs’
                                                             termination;       information
                                                             shared in public forums.


          B.      Defendant:
                         (WITNESSES EXPECTED TO TESTIFY)


No.          Name                  Address                  Anticipated Testimony

1.    Billy D. “Rusty”    c/o Dustin Hopson            Deposed
      Rhoades             Amy S. Neathery
      Plaintiff           Hopson Legal, LLC
                          119 N. Robinson Ave., Ste.
                          650
                          Oklahoma City, OK 73102
2.    Megan L. Simpson c/o Dustin Hopson
      Plaintiff        Amy S. Neathery                 Deposed
                       Hopson Legal, LLC
                       119 N. Robinson Ave., Ste.
                       650
                       Oklahoma City, OK 73102




                                             41
           Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 42 of 50




No.         Name                   Address                  Anticipated Testimony

3.    Michael S. Harrell c/o Dustin Hopson            Deposed
      Plaintiff          Amy S. Neathery
                         Hopson Legal, LLC
                         119 N. Robinson Ave., Ste.
                         650
                         Oklahoma City, OK 73102
4.    Chip Keating       c/o Defendants’ counsel      Deposed
      Defendant          Ronald T. Shinn Jr.
                         Alex Duncan
                         Jennie Mook
                         McAfee and Taft
                         211 N. Robinson, 8th FL
                         OKC, OK 73102
5.    Jason Nelson       c/o Defendants’ counsel      Deposed
      Defendant          Ronald T. Shinn Jr.
                         Alex Duncan
                         Jennie Mook
                         McAfee and Taft
                         211 N. Robinson, 8th FL
                         OKC, OK 73102
6.    Governor Stitt     c/o Defendants’ counsel      Facts and circumstances related to
      Defendant          Ronald T. Shinn Jr.          Plaintiffs’ employment and
                         Alex Duncan                  subsequent separation of
                         Jennie Mook
                                                      employment; REAL ID;
                         McAfee and Taft
                         211 N. Robinson, 8th FL      communications to, from, and/or
                         OKC, OK 73102                regarding Plaintiffs; Plaintiffs’
                                                      conduct and job performance;
                                                      German criminal and civil lawsuits;
                                                      knowledge of facts and
                                                      circumstances related to claims and
                                                      defenses in this lawsuit.




                                             42
           Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 43 of 50




No.         Name                Address                    Anticipated Testimony

7.    Jason Holt       c/o Sunne Day                 Deposed
                       General Counsel
                       Department of Public Safety
                       3600 N Martin Luther King
                       Ave
                       Oklahoma City, OK 73111
8.    John Budd        7414 N Country Club Dr        REAL ID; communications to, from,
                       Oklahoma City, OK 73116       and/or regarding Plaintiffs;
                                                     Plaintiffs’ conduct and job
                                                     performance; communications with
                                                     Governor Stitt and/or his staff
                                                     regarding Plaintiffs; German
                                                     criminal and civil lawsuits; facts and
                                                     circumstances related to Plaintiffs’
                                                     separation of employment;
                                                     knowledge of facts and
                                                     circumstances related to claims and
                                                     defenses in this lawsuit; his
                                                     declaration produced in this case.
9.    Donelle Harder   322 NE 15th Street            REAL ID; communications to, from,
                       Oklahoma City, OK 73014       and/or regarding Plaintiffs;
                                                     Plaintiffs’ conduct and job
                                                     performance; communications with
                                                     Governor Stitt and/or his staff
                                                     regarding Plaintiffs; German
                                                     criminal and civil lawsuits; facts and
                                                     circumstances related to Plaintiffs’
                                                     separation of employment;
                                                     knowledge of facts and
                                                     circumstances related to claims and
                                                     defenses in this lawsuit.




                                          43
           Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 44 of 50




No.         Name                Address                    Anticipated Testimony

10.   Paul Christian   c/o Sunne Day                 Troy German investigation;
                       General Counsel               communications to, from, and/or
                       Department of Public Safety   regarding Plaintiffs, Tim Tipton or
                       3600 N Martin Luther King     Jack McCoy; Tim Tipton and Jack
                       Ave                           McCoy; allegations and/or
                       Oklahoma City, OK 73111       investigations regarding cheating by
                                                     Rhoades and Harrell; subsequent
                                                     administrative investigations of Tim
                                                     Tipton, Brian Orr, Jack McCoy and
                                                     findings from said investigations;
                                                     knowledge of facts and
                                                     circumstances related to claims and
                                                     defenses in this lawsuit; his
                                                     declaration produced in this case.
11.   David Prater     5624 Westminster Rd.          Troy German investigation and
                       Edmond, OK 73007              indictment; communications to,
                                                     from, and/or regarding Plaintiffs;
                                                     Plaintiffs’ conduct and job
                                                     performance; communications with
                                                     Defendants; communications with
                                                     Attorney General’s Office regarding
                                                     German criminal action, Troy
                                                     German, and Plaintiffs; knowledge
                                                     of facts and circumstances related to
                                                     claims and defenses in this lawsuit.




                                          44
           Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 45 of 50




No.         Name                    Address                Anticipated Testimony

12.   Morey J. Villareal   c/o Defendants’ counsel   Opinions set forth in his expert
      Expert Witness       Ronald T. Shinn Jr.       report previously exchanged with
                           Alex Duncan               Plaintiffs’ counsel, including
                           Jennie Mook
                                                     opinions regarding Plaintiffs’
                           McAfee and Taft
                           211 N. Robinson, 8th FL   purported damages and failure to
                           OKC, OK 73102             mitigate same; any additional expert
                                                     opinions included in supplemental
                                                     reports as may be allowed under the
                                                     Rules or the Court; additional expert
                                                     opinions formed at trial upon hearing
                                                     other witness testimony.
13.   Troy German          c/o Barrett Bowers        Blackmail allegations alleged by
                           Bowers Law Firm           Rusty Rhoades; German criminal
                           1611 N Broadway Ave       and civil lawsuits; Rhoades’ and
                           Second Floor
                                                     Harrell’s actions related to cheating
                           Oklahoma City, OK 73103
                                                     during the promotional process
                                                     within the Oklahoma Highway
                                                     Patrol; communications to, from,
                                                     and/or regarding Plaintiffs;
                                                     Plaintiffs’ conduct and job
                                                     performance; knowledge of facts and
                                                     circumstances related to claims and
                                                     defenses in this lawsuit.




                                              45
           Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 46 of 50




     (WITNESSES THAT MAY TESTIFY IN CASE-IN-CHIEF OR ON REBUTTAL)

1.   John Scully       c/o Sunne Day                 DPS administrative investigation
                       General Counsel               and action regarding Tim Tipton
                       Department of Public Safety   and Jack McCoy and Brian Orr;
                       3600 N Martin Luther King     communications to, from, and/or
                       Ave                           regarding Plaintiffs; REAL ID;
                       Oklahoma City, OK 73111       circumstances of Scully’s
                                                     appointment as DPS Commissioner;
                                                     DPS practices and procedures;
                                                     knowledge of facts and
                                                     circumstances related to claims and
                                                     defenses in this lawsuit;
                                                     investigations or administrative
                                                     actions that likely would have been
                                                     taken if Plaintiff had been returned
                                                     to service.
2.   Michael Junk      11907 S. Urbana Ave           REAL ID; communications to,
                       Tulsa, OK 74137               from, and/or regarding Plaintiffs;
                                                     Plaintiffs’ conduct and job
                                                     performance; communications with
                                                     Governor Stitt and/or his staff
                                                     regarding Plaintiffs; German
                                                     criminal and civil lawsuits; facts
                                                     and circumstances related to
                                                     Plaintiffs’ separation of
                                                     employment; knowledge of facts
                                                     and circumstances related to claims
                                                     and defenses in this lawsuit.




                                          46
          Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 47 of 50




3.   Mike Hunter      3200 Kelsey Dr                Troy German investigation and
                      Edmond, OK 73013              criminal suit; communications to,
                                                    from, and/or regarding Plaintiffs;
                                                    Plaintiffs’ conduct and job
                                                    performance; communications with
                                                    David Prater regarding Troy
                                                    German and criminal action against
                                                    German; communications with
                                                    Dane Towery regarding German
                                                    matter; communications with
                                                    Defendants; knowledge of facts and
                                                    circumstances related to claims and
                                                    defenses in this lawsuit.
6.   Dane Towery      Office of the Oklahoma        Troy German investigation and
                      Attorney General              criminal suit; communications to,
                      313 NE 21st Street            from, and/or regarding Plaintiffs
                      Oklahoma City, OK 73105       and the German criminal suit;
                      dane.towery@oag.ok.gov        Plaintiffs’ conduct and job
                                                    performance; communications with
                                                    David Prater regarding Plaintiffs
                                                    and German; knowledge of facts
                                                    and circumstances related to claims
                                                    and defenses in this lawsuit.
7.   Tim Tipton       c/o Sunne Day                 Troy German investigation and
                      General Counsel               criminal suit; communications to,
                      Department of Public Safety   from, and/or regarding Plaintiffs;
                      3600 N Martin Luther King     Plaintiffs’ conduct and job
                      Ave                           performance; communications with
                      Oklahoma City, OK 73111       Defendants; knowledge of facts and
                                                    circumstances related to claims and
                                                    defenses in this lawsuit; knowledge
                                                    of administrative investigation into
                                                    allegation of misconduct against
                                                    Tipton and resolution of same;
                                                    circumstances of Tipton’s
                                                    appointment as DPS Commissioner.



                                         47
            Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 48 of 50




8.    Brian Orr         c/o Sunne Day                 Blackmail allegations alleged
                        General Counsel               against Rusty Rhoades; German
                        Department of Public Safety   criminal and civil lawsuits;
                        3600 N Martin Luther King     Rhoades’ and Harrell’s actions
                        Ave                           related to cheating during the
                        Oklahoma City, OK 73111       promotional process within the
                                                      Oklahoma Highway Patrol;
                                                      communications to, from, and/or
                                                      regarding Plaintiffs; Plaintiffs’
                                                      conduct and job performance;
                                                      knowledge of facts and
                                                      circumstances related to claims and
                                                      defenses in this lawsuit;
                                                      administrative investigation into
                                                      allegation of misconduct against Orr
                                                      and resolution of same.
9.    Gary James        620 N Robinson Ave #207,      Blackmail allegations against Troy
                        Oklahoma City, OK 73102       German and investigation of the
                                                      same; Troy German criminal suit;
                                                      Plaintiffs involvement in cheating
                                                      on promotional exam within the
                                                      Oklahoma Highway Patrol;
                                                      knowledge of communications with
                                                      Defendants; James’ representation
                                                      of Tipton, including in
                                                      administrative action;
                                                      communications with Defendants
                                                      and reasons for same; further
                                                      knowledge of facts and
                                                      circumstances of Plaintiff’s claims
                                                      and defenses to the same.
10.   Duane Michael     Executive Director
                        Oklahoma Law Enforcement      Plaintiff’s retirement
                        Retirement System             documentation, benefits,
                        421 NW 13th, Suite 100        applications, and communications.
                        Oklahoma City, OK 73103



                                           48
         Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 49 of 50




  All witnesses
  listed by Plaintiffs
  and not objected to
  by Defendants
  All witnesses
  necessary for
  authentication,
  foundation,
  rebuttal, and/or
  impeachment
  purposes


8.     ESTIMATED TRIAL TIME:

       A.     Plaintiff’s Case:           2.5 days

       B.     Defendant’s Case:           2-3 days

       C.     If you desire to have daily copy or any other extraordinary court reporter
              services during trial, you must so notify the Chief Deputy Court Clerk a
              minimum of two weeks before the date the case is scheduled to be called for
              trial.


9.     BIFURCATION REQUESTED:                            Yes X                No __

Defendants contend bifurcation as to the issue of punitive damages is warranted.

Plaintiff responds that punitive damages should be handled in two stages as outlined in
the OUJI.

10.    POSSIBILITY OF SETTLEMENT:

       Good                        Fair     X           Poor

All parties approve this report and understand and agree that this report supersedes all
pleadings, shall govern the conduct of the trial, and shall not be amended except by order
of the court.



                                                49
Case 5:20-cv-00761-R Document 88 Filed 03/31/23 Page 50 of 50




                                  Respectfully submitted,

                                  s/ Dustin J. Hopson
                                  Dustin J. Hopson, OBA # 19485
                                  Amy S. Neathery, OBA #20344
                                  HOPSON LEGAL LLC
                                  119 N. Robinson Ave., Suite 650
                                  Oklahoma City, OK 73102 Telephone:
                                  (405) 673-7560
                                  Email: dustin@hopsonlawfirm.com
                                  Email: amy@hopsonlawfirm.com
                                  ATTORNEYS FOR PLAINTIFFS


                                  AND

                                  s/ Michael A. Duncan
                                  W. Kirk Turner, OBA # 13791 Jacob S.
                                  Crawford, OBA # 31031
                                  MCAFEE & TAFT A PROFESSIONAL
                                  CORPORATION
                                  Two West Second Street, Suite 1100
                                  Tulsa, Oklahoma 74103
                                  Telephone (918) 587-0000
                                  Facsimile (918) 599-9317
                                  kirk.turner@mcafeetaft.com
                                  jake.crawford@mcafeetaft.com

                                  Ronald T. Shinn Jr., OBA # 19569
                                  Michael A. Duncan, OBA # 32382
                                  Jennie Mook, OBA #34727
                                  MCAFEE & TAFT A PROFESSIONAL
                                  CORPORATION
                                  8th Floor, Two Leadership Square
                                  211 North Robinson Avenue Oklahoma
                                  City, Oklahoma 73102
                                  Telephone: (405) 235-9621
                                  Facsimile: (405) 235-0439
                                  ron.shinn@mcafeetaft.com
                                  alex.duncan@mcafeetaft.com
                                  jennie.mook@mcafeetaft.com
                                  ATTORNEYS FOR DEFENDANTS



                             50
